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                   United States District Court
                     District of Massachusetts

                                      )
Stephen Gill,                         )
                                      )
          Plaintiff,                  )
                                      )
          v.                          )
                                      )    Civil Action No.
United States et al.                  )    19-12441-NMG
                                      )
          Defendants.                 )
                                      )
                                      )
                                      )

                         MEMORANDUM & ORDER

GORTON, J.

     This action arises out of the capital case brought before a

United States military commission against Abd Al-Rahim Hussein

Muhammed Al-Nashiri (“Al-Nashiri”) for his alleged involvement

in the attack on the USS COLE in October, 2000.        It conjoins

military and civilian law by questioning whether military

commissions have the authority to seize, detain or imprison

civilian witnesses, such as plaintiff Stephen Gill (“Gill” or

“plaintiff”), to compel their testimony before the commission.

     It is before this Court after transfer from the United

States District Court for the District of Columbia by United

States District Judge James E. Boasberg who considered this case

and found that, for jurisdictional and venue purposes, most of

the case should be in this Court.     This Court now notes its own


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hesitancy to rule on the distinctions between our civilian and

military court systems but, at the same time, is cognizant of a

founding principle of our Republic that military authority has

always been deemed subservient to civil authority.

       Pending before this Court is the government’s amended

motion to dismiss plaintiff’s amended complaint for lack of

subject matter jurisdiction and failure to state a claim.           For

the reasons that follow, that motion will be allowed, in part,

and denied, in part.

  I.     Background

         A. The Facts

       Gill is a civilian lawyer and resident of Massachusetts who

formerly served as an officer in the Judge Advocate General

Corps (“JAG”) of the United States Navy.         In January, 2015, he

was on active duty and served as the legal advisor pro tempore

for the Al-Nashiri military commission which had been convened

in September, 2011.     As the legal advisor, Gill reported to his

superiors that certain federal employees were violating a

Disqualification Order entered by the military judge, Colonel

Vance Spath (“the military judge”), which prohibited them from

working on Al-Nashiri’s case.       Soon thereafter, in quick

succession, Gill was reassigned to another military command, was

discharged from active duty and resumed civilian status.




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     In May, 2015, defense counsel for Al-Nashiri moved to

dismiss the charges brought against his client and sought Gill’s

testimony at an evidentiary hearing before the commission.            On

September 7, 2016, Gill voluntarily traveled from Massachusetts

to Virginia in his civilian capacity to proffer the requested

testimony.   At the conclusion of that session, Gill was informed

by the military judge that he would need to return in October,

2016, to complete his testimony.

     On or about October 13, 2016, Gill received a military

commission subpoena (“the October subpoena”) to appear in

Virginia on October 17, 2016.     On October 16, 2016, Gill mailed

a written “application for relief” to quash the subpoena but

received no response.   Nonetheless, he did not appear so

Military Judge Spath issued a “warrant of attachment,”

empowering the United States Marshals Service to procure Gill’s

presence before the commission.

     The next day, Gill alleges that approximately 15 Deputy

Marshals dressed in riot gear and five uniformed police officers

of the Town of Marshfield

     stormed Mr. Gill’s home with assault rifles and hand guns
     drawn and pointed at Mr. Gill.

The officers, according to the complaint, handcuffed him,

searched his person, “forcibly” shackled his waist and ankles,

took his wallet and searched his residence.       Gill contends that


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the officers then transported him to the United States District

Courthouse in Boston, Massachusetts where he was detained in a

holding cell before being transported to Logan Airport and

escorted onto a flight to Reagan National Airport in the

District of Columbia.

     Gill was then transported to the Alexandria, Virginia

County Detention Center and kept in a cell for the night.         The

next morning, a different group of Deputy Marshals transported

him to the Mark Center in Alexandria, Virginia to appear before

the military commission via video teleconference technology.

Prior to testifying, Gill complained to the military judge that

his seizure and detention were unlawful and rendered him

incompetent to testify.    Although the military judge ignored the

complaint with respect to the legality of the seizure, he did

administer a competency exam which Gill passed.

     Thereafter, Gill resumed his testimony.       During redirect

examination by Al-Nashiri’s defense counsel, a Federal Public

Defender delivered a letter to the military commission which

advised Gill of his right to counsel as a civilian subject to

military detention.   Rather than inform Gill of the letter, he

asserts, the military judge instructed Al-Nashiri’s defense

counsel to withhold that information until the testimony was

complete.




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     At the conclusion of Gill’s testimony, he was allegedly

detained in a security office without food, money or a mobile

phone for another two hours.     After his repeated protests, Gill

submits that he was provided a plane ticket back to Boston,

Massachusetts and $300 in cash.     Approximately ten hours later,

he arrived at to his residence in Massachusetts.        Gill contends

that the entire experience caused him extreme emotional trauma,

economic hardship and reputational damage.

       B. Procedural History

     In February, 2019, Gill filed an amended complaint in the

United States District Court for the District of Columbia

(“D.D.C.”) against the United States of America and individual

employees of various federal agencies.      Gill asserted ten

counts, two of which were against the individual defendants: a

Fourth Amendment violation pursuant to Bivens v. Six Unknown

Named Agents, 403 U.S. 388 (1971) (“Bivens claim”) (Count I) and

a petition for declaratory judgment (Count X).       Seven of the

remaining counts were brought against the United States pursuant

to the Federal Tort Claims Act, 28 U.S.C. §§ 1346, 2671–2680

(“FTCA”), and include state law claims for trespass, false

arrest, false imprisonment, abuse of process and intentional

infliction of emotional distress (Counts II-VIII).        The final

claim (Count IX) sought a declaratory judgment against the




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United States but Gill has since reported that he is no longer

pursuing that claim.

     In April, 2019, in a separate proceeding, the United States

Court of Appeals for the District of Columbia (“D.C. Circuit”)

considered whether the military judge (Colonel Vance Spath) had

engaged in judicial misconduct as the military judge in Al-

Nashiri’s capital case. See In re Al-Nashiri, 921 F.3d 224 (D.C.

Cir. 2019).    It had been revealed that Colonel Spath had applied

for a position with the Department of Justice (“DOJ”) as an

immigration judge.    For that reason, Al-Nashiri petitioned the

D.C. Circuit for a writ of mandamus, seeking vacatur of all

orders issued by Spath on the ground that his application

created a conflict of interest with respect to his role in Al-

Nashiri’s case because the DOJ has a vested interest in

proceedings before military commissions.       The Circuit Court

found that Colonel Spath’s job application “cast an intolerable

cloud of partiality over his subsequent judicial conduct”,

causing it to vacate all of the orders entered by Spath between

November, 2015, and April, 2019.

     Defendants subsequently moved to dismiss the amended

complaint.    In December, 2019, United States District Judge

James E. Boasberg of the D.D.C. granted the individual

defendants’ motion to dismiss (dismissing Counts I and X) on

immunity grounds and transferred the remainder of the case to

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this Session of this Court.       Following that transfer, the

government filed the pending amended motion to dismiss.

     Just before the transfer, Gill filed a related complaint in

the Massachusetts Superior Court against the Town of Marshfield

and the 11 Marshfield police officers involved in his arrest,

asserting claims pursuant to 42 U.S.C. § 1983.          Defendants

removed the state court case in March, 2020, based on federal

question jurisdiction.       Gill subsequently moved to consolidate

the pending cases which this Court did in May, 2020.

  II.     Motion to Dismiss

          A. Legal Standard

     To survive a motion under Fed. R. Civ. P. 12(b)(6), the

subject pleading must contain sufficient factual matter to state

a claim for relief that is actionable as a matter of law and

“plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)).    A claim is facially plausible if, after accepting as

true all non-conclusory factual allegations, the court can draw

the reasonable inference that the defendant is liable for the

misconduct alleged. Ocasio-Hernandez v. Fortuno-Burset, 640 F.3d

1, 12 (1st Cir. 2011).

     When rendering that determination, a court may not look

beyond the facts alleged in the complaint, documents

incorporated by reference therein and facts susceptible to

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judicial notice. Haley v. City of Boston, 657 F.3d 39, 46 (1st

Cir. 2011).   A court also may not disregard properly pled

factual allegations even if actual proof of those facts is

improbable. Ocasio-Hernandez, 640 F.3d at 12.       Rather, the

relevant inquiry focuses on the reasonableness of the inference

of liability that the plaintiff is asking the court to draw. Id.

at 13.

         B. Validity of the Subpoena and the Warrant of Attachment

     The threshold question here is whether Colonel Spath, as a

military judge presiding over the Al-Nashiri military

commission, had the authority to issue a warrant of attachment

to empower the United States Marshals Service to seize and

detain a civilian witness to procure his appearance and compel

his testimony before the commission.

     Gill contends that the military judge lacked such

authority, arguing that 1) the October subpoena was invalid,

2) no military judge, including Spath, has the authority to

punish a civilian witness for disobeying a subpoena by ordering

his seizure and detention and 3) his ultimate seizure and

detention was in violation of the Non-Detention Act, 18 U.S.C. §

4001(a).   Gill concedes that Rule 703(e) of the Rules of

Military Commissions (“R.M.C.”) explicitly permits the use of a

warrant of attachment by a military commission to compel the

testimony of a civilian witness but avers that the rule lacks

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the requisite support of a congressional statute.        The

government responds that the Military Commission Act, 10 U.S.C.

§§ 948a–950t, and the R.M.C. provide Spath with the authority to

issue the subject warrant of attachment.

          1. The Subpoena

     Pursuant to 10 U.S.C. § 949j(a)(2), military commissions

may use processes similar to those used by federal courts having

criminal jurisdiction in order to compel witnesses to appear and

testify before them.   Federal courts are authorized by Fed. R.

Crim. P. 17 to order the appearance of a witness by subpoena.

So too are federal grand juries and prosecutors presiding over

them. See In re Pantojas, 639 F.2d 822, 823–24 (1st Cir. 1980)

(noting that both a federal grand jury and its presiding

prosecutor have the power to subpoena a witness to compel his or

her testimony).   To be valid, a Rule 17 subpoena must

     state the court’s name and the title of the proceeding,
     include the seal of the court, and command the witness to
     attend and testify at the time and place the subpoena
     specifies.

Fed. R. Civ. P. 17(a).    It also must be signed by the clerk of

the court. Id.

     The October subpoena states the military commission’s

convening order, the title of the proceeding (United States v.

Ab Al-Rahim Al-Nashiri) and a command that Gill attend and

testify before the commission on October 17, 2016, at the Mark


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Center in Alexandria, Virginia.      It does not bear any seal,

however, nor was it signed by the presiding Military Judge or

his Clerk.   Instead, it bears the label “MC Form 453” and is

executed by General Martins, the Chief Prosecutor of the Office

of Military Commissions.    Gill contends that the October

subpoena is invalid because it is not

     similar to that which courts of the United States having
     criminal jurisdiction may lawfully issue.

Accordingly, he avers that it was error to hold him in contempt

for failing to comply with it.     This Court is not convinced.

     Under 10 U.S.C. § 949j(a), military commissions may compel

witnesses to appear and testify before them using processes

similar, but not necessarily identical, to those used by federal

courts having criminal jurisdiction.      This Court finds that the

October subpoena is similar to those authorized by Fed. R. Crim.

P. 17.   That document contains the name of the relevant

adjudicatory body, the title of the proceeding and the place and

time at which Gill was to appear.      Upon receipt of the October

subpoena, therefore, Gill had all of the information necessary

to be in compliance.

     Although the document is missing an official seal and the

signature of a court clerk, it contains other marks of

authenticity.   For one, it bears the label “MC Form 453”,

thereby indicating that the document has been issued under the


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aegis of the military commission. In re Mann, 728 F. Supp. 60,

61 (D. Me. 1990) (explaining that, because the original subpoena

bears the stamped impression of the court’s seal, it indicates

“as a matter of law, that the subpoena is a document issued

under the aegis of the Court.”).       Second, it was executed by

the Chief Prosecutor in the Al-Nashiri case, as permitted by

R.M.C. 703(e)(2)(C) (authorizing the Chief Prosecutor to issue a

subpoena to command the presence of a civilian witness).          In

that sense, the subpoena is “similar to” a grand jury subpoena

which can be validly issued by the presiding prosecutor. See In

re Grand Jury Matters, 751 F.2d at 16 (stating that subpoenas

are “almost universally instrumentalities of the United States

Attorney’s [O]ffice or of some other department of the executive

branch.”).

     Accordingly, having found that none of the factual

allegations indicate that the October subpoena is invalid, this

Court concludes that Gill was required to comply with it.          The

Court next considers whether the military judge, Colonel Spath,

had the authority to enforce that subpoena by holding Gill in

contempt and, thereafter, directing his seizure and detention in

order to compel his appearance and testimony.

          2. The Warrant of Attachment

     The factual allegations indicate that the subject warrant

of attachment was issued by Colonel Spath pursuant to a finding

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that Gill was in civil contempt of the military commission for

failing to appear and testify as directed.       When a subpoenaed

witness, without excuse, fails to appear and testify before an

adjudicative body as ordered, he may be held in either criminal

or civil contempt. See 28 U.S.C. § 1826; 18 U.S.C. § 401; Fed.

R. Crim. P. 17 & 42; United States v. Marquado, 149 F.3d 36, 39

(1st Cir. 1998).   The difference between the two is their

intended purpose. AngioDynamics, Inc. v. Biolitec AG, 780 F.3d

420, 426 (1st Cir. 2015).     The “purpose of civil contempt is to

coerce compliance with an order of the court” whereas the

purpose of criminal contempt is to “punish disobedience with a

judicial order”. Marquado, 149 F.3d at 39–40 (emphasis in

original).

     Confinement may be imposed for either form of contempt,

although the former is “forward-looking” and a civil contemnor

may not be confined if he has complied with the court order or

the attendant proceedings have ended. Shillitani v. United

States, 384 U.S. 364, 368 (1966); AngioDynamics, Inc., 780 F.3d

420, 426 (1st Cir. 2015).     For that reason, it is said that a

civil contemnor “carr[ies] the keys of [his] prison in [his] own

pockets”. Shillitani, 384 U.S. at 368 (internal quotation marks

and citation omitted).

     In this case, the penalty imposed on Gill reflected that of

civil, rather than criminal, contempt because his seizure and

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detention was “a forward-looking penalty meant to coerce

compliance” with the October subpoena. See AngioDynamics, Inc.,

780 F.3d 420, 426 (1st Cir. 2015).        As evidence thereof, the

warrant of attachment, which has been incorporated into the

complaint, commanded the United States Marshals Service to

     forthwith bring [Gill] before this said Military Commission
     at the Mark Center . . . to testify as required by said
     subpoena.

Further evidencing a civil purpose, the military judge had

stated with respect to the warrant:

     I don’t want him held any longer than need be because I
     don’t want it to be any more punishment than it needs to be
     to get him here to testify.

Accordingly, the only purpose of the warrant of attachment

disclosed in the factual allegations was to coerce Gill’s

testimony, not to punish him.

     The fact that the military judge called such detention

“punishment” does not alter this Court’s opinion. See

Shillitani, 384 U.S. at 369 (“The fact that both the District

Court and the Court of Appeals called petitioners’ conduct

‘criminal contempt’ does not disturb our conclusion.”).         The

United States Court of Appeals for the First Circuit has

recognized that

     [t]here is no dichotomous split between coercion and
     punishment . . . and a civil contempt sanction may evidence
     a punitive flavor.




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AngioDynamics, Inc., 780 F3d at 426.      Nonetheless, so long as

the character and purpose of the sanction is to compel future

conduct, it relates to civil contempt. Id.; Shillitani, 384 U.S.

at 370.   The question remains, however, whether the military

judge had the legal authority to hold Gill in civil contempt and

to issue a warrant of attachment to procure his confinement or

whether such confinement violated the Non-Detention Act.

              i.    Civil Contempt Power of Military Commissions

     Under the Non-Detention Act, unless otherwise authorized by

an act of Congress, “[n]o citizen shall be imprisoned or

otherwise detained by the United States”. 18 U.S.C. § 4001(a).

One such Act of Congress is the Recalcitrant Witness Statute, 28

U.S.C. § 1826 which permits Courts of the United States,

     [w]henever a witness in any proceeding before or ancillary
     to any court or grand jury of the United States refuses
     without just cause shown to comply with an order of the
     court to testify[, i.e., a subpoena,] . . . [to] summarily
     order [the witness’s] confinement at a suitable place until
     such time as the witness is willing to give such testimony.

28 U.S.C. § 1826.    The purpose of such confinement is coercive,

rather than punitive, and therefore parallels civil contempt.

See Shillitani v. United States, 384 U.S. 364, 370 (1966);

United States v. Marquardo, 149 F.3d 36, 39–41 (1st Cir. 1998).

     Before a court can order such confinement, the witness must

typically be afforded adequate notice, reasonable time to

prepare a defense and an opportunity to be heard on that


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defense. See In re Bianchi, 542 F.2d 98, 100 (1st Cir. 1976); In

re Di Bella, 518 F.2d 955, 959 (2d Cir. 1975); In re Grand Jury

Investigation, 545 F.2d 385, 388 (3d Cir. 1976); see also United

States v. Alter, 482 F.2d 1016, 1023 (9th Cir. 1973) (“[A]

proceeding in contempt to compel a federal grand jury witness to

testify is civil enough to foreclose his claim that he has a

constitutional right to a jury trial [but] criminal enough to

require the . . . notice prescribed by Rule 42(b) and to a

reasonable time to prepare his defense.”).

     That right to be heard generally entitles a contemnor to a

hearing but there are

     certain settings[ in which] a matter can adequately be
     “heard” on the papers . . . [if], given the nature and
     circumstances of the case, . . . the parties had a fair
     opportunity to present relevant facts and arguments to the
     court, and to counter the opponent’s submissions.

Morales-Feliciano v. Parole Board of Puerto Rico, 887 F.2d 1, 6

(1st Cir. 1989) (quoting Aoude v. Mobil Oil Corp., 862 F.2d 890,

894 (1st Cir. 1988)).    Furthermore, a court may “summarily”

punish for contempt “in those [limited] instances where the

witness’ refusal to respond is without just cause”. In re Grand

Jury Investigation, 545 F.2d at 388 (internal quotation marks

omitted).

     Once an individual is found in civil contempt for

disobeying a subpoena to testify, a court may impose civil

confinement on the contemnor to coerce that testimony and it may

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issue an arrest warrant (or its equivalent) to procure the

confinement. See AngioDynamics, Inc. v. Biolitec AG, 946 F.

Supp. 2d 205, 214–15 (D. Mass. 2013); NLRB v. Goren Printing

Co., Nos. 87-1091, 88-1124, 88-1222, 1990 U.S. App. LEXIS 23199,

at *8-9 (1st Cir. Nov. 30, 1990).

     Another Act of Congress which authorizes the detention of a

citizen to compel his testimony is the Federal Material Witness

Statute, 18 U.S.C. § 3144, which provides that

     [i]f it appears from an affidavit filed by a party that the
     testimony of a person is material in a criminal proceeding,
     and . . . it may become impracticable to secure the
     presence of the person by subpoena, a judicial officer may
     order the arrest of the person.

Under that statute, the witness may be detained only if his

testimony “can[not] adequately be secured by deposition”.

§ 3144; United States v. Nai, 949 F. Supp. 42, 44 (D. Mass.

1996).

            ii.    Application

     Although neither the Recalcitrant Witness Statute nor the

Federal Material Witness Statute expressly apply to military

commissions, for the reasons that follow, this Court concludes

that military commissions may use procedures similar to those

disclosed therein to compel the testimony of a defiant witness.

Those procedures include holding a defiant witness in civil

contempt and issuing the equivalent of an arrest warrant (i.e.

warrant of attachment) to procure his confinement until he

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agrees to testify. See AngioDynamics, Inc., 946 F. Supp. 2d at

214–15.

     The Military Commission Act of 2009 (“the MAC”) provides

that defense counsel in a military commission shall

     have a reasonable opportunity to obtain witnesses[,] . . .
     comparable to the opportunity available to a criminal
     defendant in a court of the United States under Article III
     of the Constitution.

10 U.S.C. § 949j(a)(1); see also § 949(a)(2) (“Process issued in

military commissions . . . to compel witnesses to appear and

testify . . . shall be similar to that which courts of the

United States having criminal jurisdiction may lawfully issue”).

For the purpose of the October subpoena, Gill was a defense

witness in the Al-Nashiri case because his testimony was

initially requested by Al-Nashiri’s defense counsel.         As such,

the military commission was entitled to enforce the subpoena to

compel Gill’s testimony using the same procedures as those

afforded to federal courts having criminal jurisdiction. 1 See




1 Plaintiff’s reliance on ICC v. Brimson is misplaced because the
discussion therein on the authority (or lack thereof) of
administrative agencies to enforce subpoenas is only dictum.
Compare Brimson, 154 U.S. 447, 473 (1894); with Sacher v. United
States, 343 U.S. 1, 8 (1952) (“[There are] very practical
reasons which have led every system of law to vest a contempt
power in one who presides over judicial proceedings.”) and
United States v. Shibley, 112 F. Supp. 734, 744 (S.D. Cal. 1953)
(“It would be unrealistic to hold that, although [military
courts of inquiry’s] power to summon witnesses [is] the same as
those of courts-martial, the means for making these powers
effective,-by issuing a warrant of attachment,-is absent.”).

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also Hamdan v. Rumsfeld, 548 U.S. 557, 631–32 (2006) (holding

that enemy combatants shall be afforded “all the judicial

guarantees which are recognized as indispensable by civilized

peoples.”); Shillitani v. United States, 384 U.S. 364, 370

(1966) (“[I]t is essential that courts be able to compel the

appearance and testimony of witnesses.”).

     Specifically, upon Gill’s refusal to appear to testify and

after a hearing, the military commission was entitled, as are

federal courts, to find Gill in civil contempt, impose an order

of confinement and issue a warrant of attachment to procure that

appearance.   Indeed, the R.M.C. has interpreted the MAC to

provide such authority. Compare R.M.C. 703(e)(2)(G) (authorizing

a military judge to “issue a warrant of attachment to compel the

attendance of a [civilian] witness” who refuses to comply with a

subpoena); with 28 U.S.C. § 1826 (authorizing federal courts

“summarily [to] order confinement at a suitable place until such

time as the witness is willing to give such testimony”); and

Fed. R. Crim. P. 17(g) (authorizing federal courts to hold in

contempt “a witness who, without adequate excuse, disobeys a

subpoena”).

     The conclusion that a military court has the theoretical

authority to hold a defiant civilian witness in civil contempt

and subsequently issue a warrant of attachment to procure his

confinement does not, however, end the analysis.        It does not

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determine whether the civil contempt order and attendant warrant

of attachment were valid in this case, namely, whether Gill was

afforded due process before he was summarily held in contempt.

See, e.g., In re Bianchi, 542 F.2d at 101 (“[A] witness must be

given a meaningful opportunity to present his defense at a

hearing under 28 U.S.C. § 1826”); In re Grand Jury

Investigation, 545 F.2d at 388 (“The power of the Court to

‘summarily’ punish for contempt is limited to those instances

where the witness’ refusal to respond is without just cause”

(internal quotation marks omitted)).

     Construing the factual allegations in Gill’s favor, this

Court concludes that the military judge improperly held him in

contempt summarily, depriving Gill of adequate notice and an

opportunity to proffer “just cause” for his failure to appear

and testify.   The amended complaint asserts that Gill applied

for relief to quash the subpoena just days after receiving it.

Two days after that but before a decision on the motion was

forthcoming, he was arrested, detained and brought before the

commission without a hearing or any other opportunity to prepare

and present his defense. In re Bianchi, 542 F.2d at 101 (“[A]

witness must be given a meaningful opportunity to present his

defense at a hearing under 28 U.S.C. § 1826.”).        Even after Gill

arrived at the Mark Center, moreover, the military judge

allegedly refused to provide him with an opportunity to present

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his defense.   Accordingly, for the purpose of this motion to

dismiss, this Court finds that the civil contempt order of the

military judge was invalid.     For that reason, this Court finds

the associated warrant of attachment latently defective.

     In any event, in In re Al-Nashiri, the D.C. Circuit vacated

all orders issued by the military judge between November, 2015,

and April, 2019. 921 F.3d 224, 241 (D.C. Cir. 2019).         According

to the amended complaint, that period includes the order of

civil contempt and the order commanding Gill’s presence via a

warrant of attachment which were entered by the military judge

in the fall of 2016.    Evidently, the amended complaint states

plausibly that the subject warrant of attachment was invalid.

Consequently, this Court turns to the substantive claims

asserted in the amended complaint.

         A. Federal Torts Claims Act (“the FTCA”)

               1.      Legal Standard

     Pursuant to the doctrine of sovereign immunity, a district

court lacks jurisdiction over claims filed against the

government unless and until the sovereign consents to being

sued. See Reyes-Colon v. United States, 974 F.3d 56, 58 (1st

Cir. 2020); Limone v. United States, 579 F.3d 79, 88 (1st Cir.

2009).   The FTCA provides that consent with respect to tort

claims against the government, see 28 U.S.C. § 1346, subject to




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a litany of exceptions. Limone, 974 F.3d at 88; see 28 U.S.C. §

2680.

     A party faced with a motion to dismiss for lack of subject

matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) bears

the burden of establishing the court’s jurisdiction over the

case. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561

(1992).     If the motion mounts a “sufficiency challenge”, the

court will assess the sufficiency of the jurisdictional

allegations by construing the complaint liberally, treating all

well-pled facts as true and drawing all reasonable inferences in

the nonmoving party’s favor. Valentin v. Hospital Bella Vista,

254 F.3d 358, 363 (1st Cir. 2001).

     If sovereign immunity is waived pursuant to the FTCA, the

elements of the underlying tort claims shall be defined by state

law. Limone, 974 F.3d at 88.        Here, because the majority of the

allegedly tortious conduct occurred in Massachusetts, its tort

law governs. See id.

                         i.   Discretionary Function Exception

     One exception to the general waiver of sovereign immunity

under the FTCA is the discretionary function exception.

§ 2680(a); see Kelly v. United States, 924 F.2d 355, 360 (1st

Cir. 1991) (“When a claim is covered by the discretionary

function exception, it must be dismissed for lack of subject

matter jurisdiction.”).       That exception applies to

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     any claim . . . based on the exercise or performance or the
     failure to exercise or perform a discretionary function or
     duty on the part of a federal agency or an employee of the
     Government, whether or not the discretion involved be
     abused.

Magee v. United States, 121 F.3d 1, 4 (1st Cir. 1997) (quoting

28 U.S.C. § 2680(a)).

     In order to determine whether government conduct

constitutes a discretionary function, the court must apply a

two-prong test: 1) whether the conduct in question was

discretionary in nature in that it involved an element of

judgment or choice and, if so, 2) whether it was the kind of

conduct which the exception was intended to shield, namely,

decisions based on considerations of public policy. United

States v. Gaubert, 499 U.S. 315, 322–23 (1991); Magee, 121 F.3d

at 4.    The purpose of the exception is to prevent

     judicial second guessing of legislative and administrative
     decisions grounded in social, economic, and political
     policy.

Magee, 121 F.3d at 5 (internal quotation marks and citation

omitted).

     Conduct is not discretionary if the United States

Constitution or a federal statute, regulation or policy

specifically proscribes the challenged course of action taken by

a government employee. Limone, 579 F.3d at 101 (“It is

elementary that the discretionary function exception does not

immunize the government from liability for actions proscribed by

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federal statute or regulation . . . Nor does it shield conduct

that transgresses the Constitution.”).        That said,

      the fact that the discretion is exercised in a negligent
      manner does not make the discretionary function exception
      to the FTCA inapplicable.

Attallah v. United States, 955 F.2d 776, 784 n.13 (1st Cir.

1992).

                      ii.   Intentional Torts Exception

      The FTCA also excepts from its waiver of sovereign immunity

certain intentional torts committed by non-law enforcement

officers, including false imprisonment, false arrest and abuse

of process (“intentional tort exception”). See 28 U.S.C.

§ 2680(h).   In doing so, however, it explicitly permits

intentional tort claims which relate to the actions or omissions

of federal law enforcement officers (“the law enforcement

proviso”). 28 U.S.C. § 2680(h).

      The FTCA defines “law enforcement officers” as

      any officer of the United States who is empowered by law to
      execute searches, to seize evidence, or to make arrests for
      violations of federal law.

Id.   Members of the United States Military (“the military”)

would not fall within that definition because they cannot

directly participate in a search, seizure or arrest of a

civilian unless otherwise authorized by law. See 10 U.S.C.

§ 275.




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              2.       Application

                i.     Trespass (Count II)

     As an initial matter, Gill’s claim for trespass is not

barred by the intentional tort exception because it is not one

of the torts enumerated in § 2680(h). See S. Rep. No. 93-588, at

3 (1973), reprinted in 1974 U.S.C.C.A.N. 2789, 2791 (“Obviously,

the intent of the Committee that . . . trespass . . . be viewed

as clearly within the scope of the Federal Tort Claims Act . . .

[T]he Committee amendment [to § 2680(h)] would submit the

Government to liability whenever its agents act under color of

law so as to injure the public through search and seizures that

are conducted without warrants or with warrants issued without

probable cause.”).     For the reasons that follow, it is also not

barred by the discretionary function exception.

     A claim for civil trespass must establish 1) actual

possession of the property by plaintiff and 2) intentional entry

by defendant which is 3) unlawful. New England Box Co. v. C & R

Const. Co., 313 Mass. 696, 707 (1943).       When law enforcement

officers enter a plaintiff’s land pursuant to a valid warrant

and do not exceed the warrant’s scope, they do not commit a

trespass. Leine v. City of Bothell, 904 F. Supp. 2d 1124, 1132

(W.D. Wa. 2012).     When the warrant authorizing that entry is

deemed invalid, however, such unlawful entry it tortious. Id. at

1032–33.

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     Here, the amended complaint asserts that the Marshals

entered Gill’s property and searched his residence pursuant to

an invalid warrant of attachment.      Whether the amended complaint

states a claim for trespass turns, in part, on whether the

warrant authorizing that entry was, in fact, invalid.         Because

this Court finds the amended complaint plausibly states that it

was, this Court also finds that Gill has stated a claim for

trespass.

     Furthermore, even if the warrant of attachment was validly

issued, the amended complaint states a claim for trespass to the

extent it challenges the decision of the Deputy Marshals to

search Gill’s residence incident to his arrest.        A protective

sweep is

     a quick and limited search of premises, incident to an
     arrest and conducted to protect the safety of police
     officers or others [that] is narrowly confined to a cursory
     visual inspection of those places in which a person might
     be hiding.

United States v. Delgado-Perez, 867 F.3d 244, 251 (1st Cir.

2017) (internal quotation marks and citation omitted) (quoting

Maryland v. Buie, 494 U.S. 325 (1990)).       It is within the bounds

of an arrest warrant and permissible under the Fourth Amendment

only where there are

     articulable facts which, taken together with rational
     inferences from those facts, would warrant a reasonably
     prudent officer in believing that the area to be swept
     harbors an individual posing a danger to those on the
     arrest scene.

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Id. at 251-52 (quoting Buie, 494 U.S. at 327).

     In this case, the subject warrant ordered the Deputy

Marshals forthwith to bring Gill before the military commission

but did not authorize the search of Gill’s residence.

Nonetheless, after Gill was detained outside his home, the

Marshals allegedly searched “each and every room” therein.             Even

if such a search was a “protective sweep” incident to Gill’s

arrest, the amended complaint permits the reasonable inference

that it exceeded the scope of the warrant because there were no

articulable facts which would warrant the belief that a

dangerous individual was inside of Gill’s home.        Such an

unreasonable search is violative of the Fourth Amendment,

unprotected by the discretionary function exception of the FTCA

and plausibly constitutes a trespass. 2 See Delgado-Perez, 867

F.3d at 253 (invalidating a protective sweep in which there was

no indication “that another person might be present in the home

at the time of the arrest, let alone that another dangerous

person would be.”); cf. Opalenik v. LaBrie, 945 F. Supp. 2d 168,

186 (D. Mass. 2013) (“[B]ecause an objectively reasonable




2Although the D.D.C. found that the “protective sweep” was
constitutionally permissible for the purpose of Gill’s Bivens
claim, see Gill v. United States, 415 F. Supp. 3d 127, 140
(D.D.C. 2019), this Court finds that the facts alleged in the
complaint state plausibly, for the purpose of this motion to
dismiss, that it was a trespass.

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officer should have known that the recording studio was beyond

the scope of the warrant, the court will conclude that the

officers [did not perform a discretionary function.]”).

               ii.    False Arrest (Count III) and False
                      Imprisonment (Count IV)

     To maintain a cause of action for false arrest under

Massachusetts law, a plaintiff must establish that 1) the

defendant arrested the plaintiff 2) without probable cause.

Lucas v. City of Boston, No. 07-cv-10979, 2009 WL 1844288, at

*25 (D. Mass. June 19, 2009) (citing Mass. Sup. Ct. Jury

Instructions § 23.5).    Similarly, to succeed on a claim of false

imprisonment, a party must show an

     intentional and unlawful confinement of a person, either
     directly or indirectly, of which the person confined is
     conscious or is harmed by such confinement.

Noel v. Town of Plymouth, 895 F. Supp. 346, 354 (D. Mass 1995)

(internal citations omitted).

     A confinement which arises out of an arrest is “unlawful”

only if the arresting officer lacked probable cause. Goddard v.

Kelley, 629 F. Supp. 2d 115, 129 (D. Mass. 2009); Sietins v.

Joseph, 238 F. Supp. 2d 366, 381 (D. Mass. 2003).        A facially

valid warrant can provide officers with probable cause to

arrest. Cf. Felix v. Luegas, 00-122250, 2004 WL 1775996, *7 (D.

Mass. Mar. 2, 2004) (“[E]xecuting a facially valid warrant

generally amounts to justification sufficient to insulate the


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arresting officer from common law liability for false

imprisonment.”); see also United States v. Towne, 870 F.2d 880,

884 (2d Cir. 1989); Johnson v. Darby, 142 F. Supp. 3d 275, 278

(E.D.N.Y. 2015) (citing Baker v. McCollan, 443 U.S. 137 (1979)).

     Here, although the warrant of attachment served on Gill may

have been procedural invalid, none of the factual allegations

indicate that it was facially so.      There is also no factual

allegation in the amended complaint indicating that the Deputy

Marshals knew that they were without authority to make the

arrest.   Armed with a facially valid (albeit latently defective)

warrant, the Court concludes that the Deputy Marshals plausibly

had probable cause to arrest Gill and subsequently detain him.

See Thompson v. Olson, 798 F.2d 552, 556 (1st Cir. 1986) (“[A]

police officer’s initial finding of probable cause justifies not

only arrest, but a reasonable period of continued detention”).

Accordingly, Gill has failed to state a claim for false arrest

and false imprisonment, so this Court will dismiss Counts III

and IV for that reason.

              iii.    Abuse of Process (Counts V-VII)

     In order to succeed on a claim for abuse of process, a

moving party must prove that 1) a process was used 2) for an

ulterior or illegitimate purpose 3) resulting in damage. Psy-Ed

Corp. v. Klein, 459 Mass. 697, 713 (2011); Santiago v. Fenton,

891 F.2d 373, 388 (1st Cir. 1989) (“An action for abuse of

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process lies when an officer uses a lawful criminal process to

accomplish an unlawful purpose” (citing Powers v. Leno, 509

N.E.2d 46 (Mass. App. Ct. 1987)).      Under Massachusetts law, such

“process” in this context “refers to the papers issued by a

court to bring a party or property within its jurisdiction”.

Powers v. Leno, 509 N.E.2d 46, 48 (Mass. App. Ct. 1987).

     To the extent Gill’s abuse of process claims depend on the

actions of the military judge and prosecutors, this Court lacks

jurisdiction based on sovereign immunity.       Those actors are not

law enforcement officers as defined by 18 U.S.C. § 2680(h).

Rather, they are military personnel and prosecutors and the

intentional tort exception to the FTCA bars claims for abuse of

process which relate to their actions. See Yacubian v. United

States, 750 F.3d 100, 108 (1st Cir. 2014) (“It is undisputed

here that the actions of federal prosecutors are outside the

ambit of § 2680(h) and are accordingly immune from [claims of

the enumerated intentional torts] under the FTCA.”); 10 U.S.C. §

275 (prohibiting military personnel from searching, seizing or

arresting civilians).

     With respect to the actions of the law enforcement

officers, moreover, there are no factual allegations that such

officers used any process or had any ulterior or illegitimate

purpose or motivation in their execution of the warrant of

attachment.   Indeed, the complaint makes no reference to the

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Deputy Marshals’ state of mind, at all.       Accordingly, Counts

V–VII will be dismissed for lack of subject matter jurisdiction

and for failure to state a claim.

               iv.    Intentional Infliction of Emotional Distress
                      (Count VIII)

     Under Massachusetts law, a plaintiff states a claim for

intentional infliction of emotional distress if he alleges that

the defendant engaged in extreme and outrageous conduct and

without privilege which causes the plaintiff severe emotional

distress. Limone v. United States, 579 F.3d 79, 91 (1st Cir.

2009) (quoting Agis v. Howard Johnson Co., 355 N.E.2d 315, 318

(1976)).   Conduct is extreme and outrageous only if it is

“beyond all bounds of decency and . . . utterly intolerable in a

civilized community”. Sena v. Commonwealth, 417 Mass. 250, 263

(1994).

     In general,

     [n]either applying for an arrest warrant, nor making an
     arrest pursuant to an issued warrant can be considered
     “utterly intolerable in a civilized community”.

Sena, 417 Mass. at 264; Aguoji v. Harvard Univ., No. 09-P-1786,

2010 Mass. App. Unpub. LEXIS 922, at *7 (Mass. Ct. App. 2010)

(“The arrest of a person upon the basis of probable cause to

believe that he has committed, or is committing, a criminal

offense does not constitute ‘extreme or outrageous’ conduct.”).

That said, actions by law enforcement that are objectively


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unreasonable under the Fourth Amendment to the United States

Constitution may be deemed extreme and outrageous. See Spencer

v. Roche, 755 F. Supp. 2d 250, 269 (D. Mass. 2010).         An

officer’s actions may be deemed objectively unreasonable, for

instance, if he uses excessive force. See Barbosa v. Conlon, 962

F. Supp. 2d 316, 334 (D. Mass. 2013) (citing Poy v. Boutselis,

352 F.3d 479, 485-86 (1st Cir. 2003) (jury finds intentional

infliction of emotional distress in connection with an arrest

where police used excessive force)).

     Here, the factual allegations in the amended complaint

state a claim for intentional infliction of emotional distress.

Although courts afford law enforcement officers significant

deference when making arrests and there was plausible probable

cause to arrest Gill, the amended complaint permits the

reasonable inference that the arrest described therein and the

events which took place thereafter involved extreme and

outrageous conduct.    Furthermore, Gill asserts in the amended

complaint that such conduct caused him to suffer “extreme shock,

fear, emotional distress, and mental trauma”.

     The complaint also states a claim for excessive force,

namely, that approximately 15 Marshals arrived at Gill’s

residence dressed in full riot gear with assault rifles and

hand-guns drawn and pointed at him despite there being no

factual allegation indicating that Gill posed any threat of

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danger to the Marshals. 3 See Baird v. Renbarger, 576 F.3d 340,

345-46 (7th Cir. 2009) (concluding that pointing a gun in the

absence of danger constitutes excessive force); Robinson v.

Solano County, 278 F.3d 1007, 1015–16 (9th Cir. 2002) (same);

Baker v. Monroe Township, 50 F.3d 1186, 1193–94 (3d Cir. 1995)

(same); see also Poy, 352 F.3d at 485 (affirming verdict for

intentional infliction of emotional distress based on an

officer’s use of excessive force “despite an absence of

resistance, threats, or attempt to flee.”).

     Thereafter, Gill was allegedly shackled by force,

handcuffed and transported to the Alexandria County Detention

Center, where he was detained overnight with little food or

water.   Such conduct plausibly violates the Fourth Amendment as

constituting excessive force and, therefore, is unprotected by

the discretionary function exception to the FTCA and is evidence

of intentional infliction of emotional distress. Cf. Limone, 579

F.3d at 102 (holding that challenged “conduct was

unconstitutional and, therefore, not within the sweep of the

discretionary function”); see also Loumiet v. United States, 828




3 Although the D.D.C. also found that the level of force used by
the Marshals was constitutionally permissible for the purpose of
Gill’s Bivens claim, see Gill, 415 F. Supp. 3d at 140, this
Court finds that the facts alleged in the complaint state a
claim for excessive force.

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F.3d 935, 943 (D.C. Cir. 2016) (collecting cases holding the

same).

                                 ORDER
     For the foregoing reasons, the government’s amended motion

to dismiss (Docket No. 47) is, with respect to:

          - Federal Tort Claims Act, 28 U.S.C. §§ 1346, 2671-2680
            (“FTCA”), False Arrest (Count III);

          - FTCA, False Imprisonment (Count IV)

          - FTCA, Abuse of Process (Count V);

          - FTCA, Abuse of Process: Deadly Force (Count VI);

          - FTCA, Abuse of Process: Denial of Right to Counsel
            (Count VII); and

          - Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202, Fed.
            R. Civ. P. 57, Declaratory Judgment (Count IX),

ALLOWED; and those counts are DISMISSED, but is, with respect
to:

          - FTCA, Trespass (Count II); and

          - FTCA, Intentional Infliction of Emotional Distress
            (Count VIII),

DENIED.

So ordered.

                                         \s\ Nathaniel M. Gorton
                                         Nathaniel M. Gorton
                                         United States District Judge

Dated January 29, 2021




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